                                                                                          Nicholas J. Henderson
                                                                            Admitted in Oregon and Washington
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                                                                                             www.portlaw.com


                                        November 3, 2022

VIA CM/ECF ELECTRONIC FILING

Hon. David W. Hercher
United States Bankruptcy Court
District of Oregon
1050 SW 6th Ave #700
Portland, OR 97204

         Re:    In re Mark E. Delong, Bk Case No. 22-30011-dwh11
                Proposed Order Confirming Plan

Dear Judge Hercher:

       Attached is a draft form of order that will be presented at the confirmation hearing
scheduled for today, November 3, 2022. The proposed order contains several modifications to

with counsel for PSB Credit Services, Inc. and Producers Livestock Marketing Association. The
trustee and both of the aforementioned creditors have stipulated to entry of the proposed
confirmation order.


the order at the hearing. If this form of order is approved, I will upload the document for entry
through the normal CM/ECF process.

         As always, thank you for your time and consideration.

                                              Very truly yours,

                                              MOTSCHENBACHER & BLATTNER          LLP


                                                /S/ NICHOLAS J. HENDERSON

                                              Nicholas J. Henderson

cc:      All Parties Receiving CM/ECF Notice



{00559378:2}


                      Case 22-30011-dwh12        Doc 116      Filed 11/03/22
                                           UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF OREGON
In re
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                                                     )               îîóíððïïó¼©¸ïî
                                                          Case No. _________________
                                                     )
                                                     )    ORDER CONFIRMING CHAPTER 12
                                                     )    PLAN AND RESOLVING MOTIONS
Debtor(s)                                            )

       The debtor's current plan was transmitted to the appropriate creditors and after hearing upon notice, the Court found
the provisions of 11 USC §1225(a) were complied with, THEREFORE IT IS ORDERED that:

                                       èñîíñîî
        1. The debtor's plan dated _____________ as modified by any amendment shown in pt. 10 below, is confirmed.

         2. The debtor shall incur no credit or debt obligations during the life of the plan without the trustee's written consent
unless made necessary by emergency or incurred in the ordinary course of operating the debtor's business. Unless waived
by the trustee in writing, the debtor shall immediately report to the trustee if actual or projected gross annual income exceeds
by more than 10% the gross farming income and/or net farm income projected by the debtor in the most recently filed Exhibit
D-1. Except for those amounts listed in the schedules, the debtor shall immediately report to the trustee any right of the debtor
or debtor's spouse to a distribution of funds (other than regular farm income) or other property which exceeds a value of
$2,500.00. This includes the right to disbursements from any source, including but not limited to bonuses and inheritances.
Any such funds to which the debtor becomes entitled shall be held by the debtor and not used without the trustee's permission,
or, if such permission is not obtained, a court order. The debtor shall not buy, sell, use, lease, encumber or otherwise dispose
of any interest in: (a) real property; or (b) personal property with a value exceeding $10,000.00 outside the ordinary course
of business without notice to all creditors and the trustee with an opportunity for hearing unless such property is acquired
through the use of credit and the trustee's permission is obtained pursuant to the first sentence of this paragraph.

        3. During the life of the plan, the debtor(s) shall timely file all required tax returns and provide copies of all tax returns
to the trustee each year immediately upon filing with the taxing authority. The debtor’s failure to pay postpetition taxes and/or
domestic support obligations may constitute cause for dismissal of the debtor’s chapter 12 case under 11 USC §1208(c).

                                                Í»» Ð¿®¿¹®¿°¸ ïé
      4. The debtor's attorney is awarded $_________________,                                              Í»» Ð¿®¿¹®¿°¸ ïé
                                                                    for attorney fees herein, of which $_________________
                                                               Í»» Ð¿®¿¹®¿°¸ ïé
has been previously paid by the debtor leaving a balance of $_________________.     The trustee is directed to pay any balance
from sums remaining after payments under pt. 2(b) of the plan are current.




1255.05 (10/17/05) Page 1 of 2                [NOTE: Printed text may NOT be stricken!]

                                 Case 22-30011-dwh12               Doc 116       Filed 11/03/22
      5. The value of collateral securing debts due holders of secured claims is fixed at the values stated in the plan or the
modifications in pt. 10 below. Executory contracts and unexpired leases are assumed or rejected as provided in the plan or
the modifications in pt. 10 below. The name AND service address for each creditor affected by this paragraph are as follows:

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      6. Nothing in the proposed plan or in this order shall be construed to prohibit the trustee from prevailing in any
adversary proceedings filed under 11 USC §§544, 545, 547, 548 or 549.

       7. The debtor, if operating a business without a tax account, shall open a separate bank account and promptly deposit
all sums withheld from employees' wages and all employer payroll taxes, and shall make no disbursements from such account
except to pay tax liabilities arising from payment of wages.

       8. All payments under the confirmed plan shall be paid no later than 5 years after entry of the first order confirming a
plan in this case. If all payments are not completed by that date, the case may be dismissed.

       9. All creditors to which the debtor is surrendering property pursuant to the plan are granted relief from the automatic
stay to effect possession and to foreclose.

      10. The debtor moves to amend the plan by interlineation as follows, which amendments are allowed and become part
of the confirmed plan [NOTE: Debtor must INCLUDE a service address for any creditor named below]:

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·²¬»®´·²»¿¬·±² ·- ¿¬¬¿½¸»¼ ¸»®»¬± ¿- Û¨¸·¾·¬ ïò




    11. The terms of this order are subject to any objection filed within 15 days by [NOTE: Debtor must INCLUDE a service
address for any affected creditor whose address is not already listed in pts. 5 or 10]:

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      12. The trustee is authorized to commence disbursements in accordance with the plan.

      13. In the event this case is converted to one under Chapter 7 and the Chapter 12 trustee possesses funds aggregating
more than $2,500.00 at the time of conversion, the trustee shall forward all such funds to the Chapter 7 trustee. In the event
the funds in the trustee's possession at such time aggregate $2,500.00 or less, or in the event this case is dismissed, the
trustee shall forward all funds in the trustee's possession to the debtor in care of the debtor's attorney, if any. Nothing in this
paragraph is to be construed as a determination of the rights of the parties to such funds.

                                                               ###


                      ïïñîñîî
I certify that on _____________ I served this Order on the trustee for submission to the court.


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                                                                                     __________________________________
                                                                                       DEBTOR OR DEBTOR’S ATTORNEY
Approved: _____________________________
                     Trustee




1255.05 (10/17/05) Page 2 of 2               [NOTE: Printed text may NOT be stricken!]

                                Case 22-30011-dwh12              Doc 116       Filed 11/03/22
   In re Mark E. Delong
   Case No. 22-30011-dwh12

                  CONTINUATION STATEMENTS TO ORDER CONFIRMING PLAN

                                       Continuation Statement No. 5

   Malheur County Tax Collector                        Producers Livestock Marketing Assoc.
   Attn: Jennifer Forsyth, Treasurer                   c/o Sheila R. Schwager
   251 B Street West Room #10                          Hawley Troxell Ennis & Hawley LLP
   Vale, OR 97918                                      PO Box 1617
                                                       Boise, ID 83701

   PSB Credit Services, Inc.                           U.S. Small Business Administration
   508 Third Street                                    2401 4th Ave, Suite 450
   Prinsburg, MN 56281                                 Seattle, WA 98121


                                       Continuation Statement No. 10.

          Debtor moves to amend the plan by interlineation as follows, which amendments are
   allowed and become part of the confirmed plan:

       The plan payment terms described in Paragraph 1 shall be changed to the following:

            Debtor shall pay $75,000 on or before 12/1/2022; and
            Debtor shall pay $50,000 on or before 12/31/2022; and
            Debtor shall pay $75,000 on or before / /2023; and
            $165,000 every six months thereafter, beginning /1/2023

       In the Continuation Statement for Paragraph 2(b)(1), the contents of the row describing
       the treatment of PSB Credit Services, Inc. (Class 4), shall be replaced with the
       following:
       Column Title:                                     Replacement Text:
       Creditor/Class:                                   PSB Credit Services, Class 4
       Collateral:                                       Real Property, Irrigation Equipment
       Estimated Arrearage, if Curing:                   N/A
       Collateral Value, if Not Paying in Full:          $5,125,000
       Estimated Total Debt if Paying in Full:           N/A
       Term of Payments (Up to):                         See Paragraph 11
       Post-Confirmation Interest Rate:                  7.25%
       Periodic Payment:                                 See Paragraph 11

III.   Paragraph 11 to the Plan shall be replaced with the following:


   Page 1 of 4      Continuation Statements to Order Confirming Plan
   {00559253:1}


                          Case 22-30011-dwh12         Doc 116     Filed 11/03/22
In re Mark E. Delong
Case No. 22-30011-dwh12

    11. Notwithstanding any other term or condition of the plan, the claim of PSB Credit
               PSB

       A.    Claim; Repayment.                                Petition Date
was due and owing to PSB which is secured by certain property of the Debtor as evidenced by
the amended proof of claim filed by PSB on August 26, 2022 [Claim No. 6-2]; for which the
Debtor acknowledges is the amount owed to PSB. The allowed secured claim will be bifurcated

12 Plan, each secured by the real and personal property collateral referenced in
proof of claim, and paid as follows:

               1.        Tranche A.                                                      Tranche A
Debt
amortized over thirty (30) years, with the Debtor paying semi-annual payments of principal and
accrued interest of $132,693.62. Each semi-annual payment of $132,693.62 will be due and
payable on the first day of March and September of each calendar year; beginning September 1,
2023. In addition to the semi-annual payments commencing September 1, 2023, the Debtor will
also pay $66,346.81 on December 1, 2022, and $66,346.81 on March 1, 2023. All payments
shall be applied, first, to accrued interest, then, second, to outstanding principal. The Tranche A
Debt will mature on the sixth anniversary of the plan confirmation hearing, at which time, the
Tranche A Debt will be due and payable in full.

                  2.  Tranche B. The bifurcated amount of $1,896,670.56 [$5,125,000 -
                      Tranche B Debt         ccrue interest, as of the Petition Date, at the fixed
rate of 7.25%. The Tranche B Debt will mature on the sixth anniversary of the plan confirmation
hearing, at which time, the Tranche B Debt will be due and payable in full.

              3.     Unsecured Claim. PSB shall have an allowed unsecured claim of
$268,522.84 [$5,393,522.84 ($3,228,329.44 + $1,896,670.56)].

       B.     Sale of Encumbered Real Property. The Debtor shall execute a listing agreement
with a licensed realtor of his choice and acceptable to PSB, market and sell the following


               Schedules                       the following terms and conditions:

                  1.

                           a. December 1, 2022          deadline for signed listing agreement with
                              licensed realtor selected by Debtor and acceptable to PSB;

                           b. September 1, 2023 deadline for signed purchase agreement; and

                           c. December 1, 2023    deadline to close on the sale.




Page 2 of 4      Continuation Statements to Order Confirming Plan
{00559253:1}


                       Case 22-30011-dwh12         Doc 116      Filed 11/03/22
In re Mark E. Delong
Case No. 22-30011-dwh12

                2.

                       a. December 1, 2022         deadline for signed listing agreement with a
                          licensed realtor selected by Debtor and acceptable to PSB;

                       b. September 1, 2023 deadline for signed purchase agreement; and

                       c. December 1, 2023     deadline to close on the sale.

                3.              entified as Parcel 1 in Schedules]:

                       a. June 1, 2024 deadline for signed listing agreement with a licensed
                          realtor selected by Debtor and acceptable to PSB;

                       b. March 1, 2025 deadline for signed purchase agreement; and

                       c. June 1, 2025 deadline to close on the sale.

                4.                                                              . The Debtor shall

with a status of the listing, the current listing price, any offers received by the Debtor, and any
correspondences between the Debtor, the realtor and any prospective buyers. PSB may
correspond directly with the realtor, in writing copied to the Debtor and the Trustee, as to the
status report.

                 5.     Sale; Release of Lien; Application of Sale Proceeds. To the extent the
proceeds from the sale of any of the encumbered property do not satisfy the Tranche A and
Tranche B debt, in full, PSB may elect not to release its lien. As to any approved sale, the sale
proceeds shall be applied, first, against the outstanding balance of the Tranche B debt until paid
in full, then, second, against the outstanding balance of the Tranche A debt until paid in full.

         C.     Additional Plan Terms.

                1.     Pre-petition Liens.   The pre-petition liens of PSB shall continue to


action that is necessary to maintain and perfect its pre-petition liens without further notice,
motion or order.

               2.    Pre-Petition Property Taxes.       The Debtor shall pay all pre-petition
property taxes by December 31, 2022.

                3.      Non-monetary Loan Terms. The non-monetary loan terms set forth in the
                                                                                             -
petition property taxes when due, etc.) are incorporated into the confirmed Chapter 12 plan as
though set forth in the plan in their entirety.


Page 3 of 4    Continuation Statements to Order Confirming Plan
{00559253:1}


                     Case 22-30011-dwh12         Doc 116     Filed 11/03/22
  In re Mark E. Delong
  Case No. 22-30011-dwh12


                  4.    Non-Merger Estoppel Deeds. Contemporaneous with the confirmation of
                                                                            -merger estoppel deeds
  prepared by PSB and acceptable to Debtor and the Trustee for each parcel of real property
  descr
  delivered to Cascade Escrow at its office located at 811 Willamette Street, Eugene, Oregon
  97401 with instructions that allow for the release of the non-merger estoppel deeds to PSB in the

                                                                           -merger estoppel deeds to
                       Deeds-In-Lieu              be solely responsible for the costs associated with
  this escrow.

                  5.       Stay Relief. The Debtor consents to, and the confirmation order shall
  serve as, a stay relief order under 11 U.S.C. 362(d) to allow PSB to affect its rights and remedies
  under this plan and applicable law without further notice or hearing.

           D.    Event of Default; Right to Cure. The failure of the Debtor to comply with the
                                                                       Event of Default
  exception of the deadlines in Section B above, the Debtor shall be entitled to a forty-five (45)
  cure period as to any other Event of Default. For the Section B deadlines there is no cure period.
  Notice of default shall be effective, three days after mailing, if sent by regular United States mail


          E.      Remedies. Upon an Event of Default and the expiration of the applicable cure
  period; or on the sixth anniversary of the plan confirmation order; PSB may elect to either:

                       1.     Record Deeds-in-Lieu. Request and obtain the release of the
  Deeds-in-Lieu from the escrow agent and record the Deeds-in-Lieu;

                         2.      Sale of Properties. File a motion with the Court requesting that the
  Chapter 12 trustee sell the remaining properties; or

                        3.      Foreclosure. Commence a foreclosure or such other enforcement
  action allowed under the loan documents and applicable law.

IV.   Paragraph 17 shall be added to the Plan to read as follows:

                                                    held in reserve by the Chapter 12 Trustee until
  allowed by separate order of the Court.




  Page 4 of 4    Continuation Statements to Order Confirming Plan
  {00559253:1}


                          Case 22-30011-dwh12       Doc 116      Filed 11/03/22
                                        UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF OREGON

   In re
    Ó¿®µ Ûò Ü»´±²¹                                        Case No.         îîóíððïïó¼©¸ïî

                                                                 Ú·®-¬ ß³»²¼»¼

                                                          CHAPTER 12 PLAN DATED èñîíñîðîî ø¿- ³±¼·º·»¼ ¿¬
                                                            Motion to Value Collateral ½±²º·®³¿¬·±²÷
                                                            Secured Claim Amount Limited with Creditor Consent
   Debtor(s)

   1. The debtor shall pay to the trustee (a) a periodic payment of $ Í»» Ý±²¬·²«¿¬·±² Í¬³¬ ï         every
        Í»» Ý±²¬·²«¿¬·±² Í¬³¬ ï (insert either month, quarter, six months or year); (b) all proceeds from
      avoided transfers, including proceeds from transfers avoided by the trustee; (c) upon receipt by the
      debtor, all net tax refunds attributable to prepetition tax years and net tax refunds attributable to
      postpetition tax years (i.e., tax refunds not included on Schedule I, less tax paid by debtor for a
      deficiency shown on any tax return for that same postpetition tax year or tax paid by setoff by a tax
      agency for a postpetition tax year) received by the debtor during:            The life of the plan, or
             36 months from the date the first plan payment is due (check applicable provision; if neither is
      checked, “for the life of the plan” applies); (d) a lump sum payment of
      $                         on                          (date); and (e)
                                                                                                             .

   2. From the payments so received, the trustee shall make disbursements as follows:
      (a) First, to the trustee's commission and expenses.
      (b) Second, with respect to secured creditors, the terms of the debtor's prepetition agreement with
          each secured creditor shall continue to apply, except as otherwise provided for in this plan or
          the confirmation order. Secured creditors shall retain their liens until the payment of the
          underlying debt, determined under nonbankruptcy law, or discharge under § 1228, as
          appropriate. Any allowed secured claims will be paid as shown below. Should the trustee not
          have sufficient funds in trust to pay fully the disbursements listed below, disbursements of funds
          available shall be made pro rata. If a creditor is not fully secured, the unsecured portion of the
          creditor's claim shall be treated under the provisions of pt. 2(e) and (f) if the claim identifies the
          priority portion of the claim, and, if not, under the provisions of pt. 2(f) only. The following also
          apply:
         (1) To creditors whose claims have been timely filed and allowed as secured, make payments
               as follows: Estimated prepetition arrearages on property must be shown below,
               separately, and identified as such if debtor is curing defaults under
               11 U.S.C. § 1222(b)(5)). The arrearages and total amount of debt shown in a timely
               filed and allowed secured claim shall control.

                                         Estimated      Collateral      Estimated                      Post-
                                         Arrearage,    Value if Not    Total Debt if    Terms of   confirmation    Periodic
      Creditor          Collateral        if Curing   Paying in Full   Paying in Full   Payments   Interest Rate   Payment
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   1200.05 (7/6/2020)                                    Page 1 of 4
                                              Exhibit 1 - Page 1 of 13
                                     Case 22-30011-dwh12 Doc 116 Filed 11/03/22
             If payments to a creditor are to begin after debtor’s attorney has been paid, the payments
             to said attorney shall not exceed $ éëôððð         before the creditor is paid. If the debtor
             is not paying the debt in full, the debtor MOVES the court for an order fixing the value of
             the collateral as set forth above.

             If the collateral is not to be sold, the value of the collateral shall be fixed in the amount
             stated above for purposes of administration of this plan as well as for purposes of the
             amount of any secured claim, if under secured, unless objected to at or before the first date
             set for the confirmation hearing on this plan or, if applicable, prior to expiration of time to
             object to this proposed modified plan, in which case the value will be determined by the
             court. If the collateral is to be sold the value shall be the sales price. The debtor MOVES the
             court for an order so fixing the value of the collateral. Otherwise, the creditor’s proof of
             claim shall control.

       (2) Debtor proposes that the creditor(s) specifically identified below agree to the following
           treatment which the court might not be able to approve absent consent of creditor(s). Failure
           of creditor(s) to file a written objection to this plan prior to confirmation shall
           constitute acceptance of the plan. From the payments received pursuant to pt. 1, if a claim
           has been timely filed and allowed as secured, make payments to the following holders of
           such claims as detailed below. Estimated prepetition arrearages, if curing and reinstating,
           must be shown below. The arrearages shown in a timely filed and allowed secured
           claim shall control.

                                    Estimated      Collateral      Estimated                      Post-
                                    Arrearage,    Value if Not    Total Debt if    Terms of   confirmation    Periodic
  Creditor         Collateral        if Curing   Paying in Full   Paying in Full   Payments   Interest Rate   Payment
ÒÑÒÛ




             If the collateral is not to be sold, for purposes of administration of this plan and case, the
             secured claim shall be limited to the value of the collateral stated above, unless creditor(s)
             objects at or before the first date set for the confirmation hearing on this plan or, if
             applicable, prior to expiration of time to object to any proposed modified plan, in which
             case, the values will be determined by the court. If the collateral is to be sold, the value
             shall be the sales price. The debtor MOVES the court for an order so fixing the value of
             the collateral.

       (3) Adequate protection payments shall be disbursed by the trustee pre-confirmation from
           funds on hand with the trustee in the payment amounts specified in the plan for the subject
           secured creditors, absent a provision in this plan or a court order providing for a different
           amount to be paid preconfirmation. If the debtor fails to make monthly payments sufficient
           to pay the adequate protection payments in full, the trustee will disburse available funds pro
           rata according to the payments proposed for subject secured creditors. Adequate
           protection payments paid through the trustee preconfirmation will be deducted from the
           amount of the allowed claim. Unless the concerned secured creditor is fully secured or
           oversecured, no interest shall be paid from the date of the filing of the petition to the date of

 1200.05 (7/6/2020)                                 Page 2 of 4
                                         Exhibit 1 - Page 2 of 13
                                Case 22-30011-dwh12 Doc 116 Filed 11/03/22
           confirmation unless otherwise specifically provided for in the payment provisions set forth
           above.

      (4) The debtor shall surrender any collateral which is not otherwise addressed by the terms of
          this plan no later than upon confirmation of this plan to the following creditors (state
          creditor NAME and DESCRIBE collateral to be surrendered):
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   (c) Third, pro rata, until fully paid, allowed unsecured domestic support obligations.
   (d) Fourth, allowed administrative expenses under § 507(a)(2).
   (e) Fifth, pro rata, until fully paid, to allowed priority claims in the order stated in § 507(a)(3)-(10),
       unless otherwise ordered.
   (f) Sixth, pro rata, to timely filed and allowed nonpriority unsecured claims, the amounts required
       by § 1225(b)(1). These monies will be distributed in the method indicated in the applicable
       section marked below. The terms of pt. 8 shall also apply.
           (1) The creditors will receive approximately ïîòí % of their claims. This percentage will
                 vary depending on the amount of total creditors' claims filed.
           (2) The creditors will receive a minimum            % of their claims. This percentage will not be
                 reduced despite the amount of total creditors' claims filed.
   (g) Pursuant to § 1225(a)(4), the unsecured creditors as a group will receive                 100%       a
       minimum of $                                       (check applicable provision; if neither is checked,
       "100%" controls) plus                    % shall be paid on all timely filed and allowed priority and
       nonpriority unsecured claims from the date of plan confirmation to compensate for deferred
       payment.

3. The debtor moves for assumption of the following executory contracts and leases:
        Creditor             Amount of Default [State if None]              Cure Provisions
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   Those executory contracts or leases not specifically mentioned above are treated as rejected. Any
   timely filed and allowed claim arising from rejection shall be treated under pt. 2(f). The debtor will
   pay all assumed executory contracts and leases directly, including amounts required to cure. The
   debtor shall surrender any property covered by rejected executory contracts or leases to the
   affected creditor no later than upon confirmation of this plan.

4. The debtor shall pay directly to each of the following creditors, whose debts are fully secured, the
   regular payment due postpetition on these claims in accordance with the terms of their respective
   contracts, list any prepetition arrearages in pt. 2(b), and/or specify any other treatment of such

1200.05 (7/6/2020)                              Page 3 of 4
                                     Exhibit 1 - Page 3 of 13
                            Case 22-30011-dwh12 Doc 116 Filed 11/03/22
   secured creditor(s) in pt. 2(b):
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5. The property described below is to be sold [also state offering price and whether it will be offered
   through a broker (and if so, who), and state date by which it will be sold and what will occur if it is
   not timely sold], all offers received by the debtor shall be promptly communicated to the trustee
   and lienholders, and no sale of such property shall be completed without notice to lienholders and
   the trustee and an opportunity for a hearing:
     Òñß




6. Subject to the provisions of § 502, untimely claims are disallowed, without the need for formal
   objection, unless allowed by court order.

7. Except as provided in this plan or in the order confirming the plan, upon confirmation of this plan all
   of the property of the estate shall vest in the debtor(s) free and clear of any claim or interest of any
   creditor provided for by this plan pursuant to 11 U.S.C. § 1227.

8. [To be completed if plan will not be completed until more than 36 months after the first plan payment
   due under the originally filed plan.] The scheduled month and year the plan will be completed is
                       ïîñíïñîðîé                   and the cause for a plan longer than 36 months is:
   Ü»¾¬±® ²»»¼- ´±²¹»® °´¿² ´»²¹¬¸ ¬± º«²¼ ¿´´ ¿³±«²¬- ¼«» «²¼»® ¬¸» °´¿²ò                                    .
   Except as otherwise explicitly provided by pt.           , the debtor shall make plan payments for the
   longer of either: (a) 36 months from the date the first payment is due under the original plan, unless
   the debtor pays 100% of all claims with interest if required, or (b) the time necessary to complete
   required payments to creditors.

9. This plan may be altered postconfirmation in a non-material manner by court order after notice to
   the debtor, the trustee, any creditor whose claim is the subject of the modification, and any
   interested party who has requested special notice.

10. Except as otherwise provided herein, (a) postpetition interest on all unsecured claims is disallowed,
    and (b) unsecured claims allowed in the amount of $25 or less, to the extent claims of that class
    are entitled to a distribution under this plan, shall be paid in the full amount allowed prior to any
    payments to other unsecured claims of the same class.



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Debtor                                    Date                   Debtor                    Date




1200.05 (7/6/2020)                                      Page 4 of 4
                                         Exhibit 1 - Page 4 of 13
                                Case 22-30011-dwh12 Doc 116 Filed 11/03/22
                                  In re Mark E. Delong
                                Case No. 22-30011-dwh12
                   First Amended Chapter 12 Plan Dated August 23, 2022
                              (As Modified at Confirmation)

                  Chapter 12 Plan Continuation Statement for Paragraph 1

In Paragraph 1 of the Plan, the provision for periodic payments shall read:

       Debtor shall pay $75,000 on or before 12/1/2022; and
       Debtor shall pay $50,000 on or before 12/31/2022; and
       Debtor shall pay $75,000 on or before / /2023; and
                        $165,000 every six months thereafter,
       beginning /1/2023




Page 1 of 7 Plan Continuation Statements                    In re: Mark E. Delong
First Amended Plan Dated August 23, 2022                Case No. 22-30011-pcm12
(As Modified at Confirmation)                                           {00559327:1}
                              Exhibit 1 - Page 5 of 13
                   Case 22-30011-dwh12 Doc 116 Filed 11/03/22
                                                                Chapter 12 Plan Continuation Statement for Paragraph 2(b)(1)
                                                                         First Amended Plan Dated August 23, 2022
                                                                                (As Modified at Confirmation)

                           Creditor / Class               Collateral          Estimated        Collateral        Estimated          Term of        Post-         Periodic
                                                                              Arrearage,     Value, if Not      Total Debt if      Payments    Confirmation      Payment
                                                                               if Curing     Paying in Full     Paying in Full      (Up to)    Interest Rate

                      Malheur County Tax            Real Property             N/A            N/A                $32,360.56         2.5 years   16% per         Paid in full by
                      Collector                     All Accounts                                                                               annum           December 31,
                      CLASS 1                                                                                                                                  2022


                      Producers Livestock        Livestock and                N/A            N/A                $63,070.50         3 years     6.25% per       $12,000, plus
                      Marketing Association      Proceeds                                                                                      annum           AAFAAC
                      CLASS 2                                                                                                                                  every 6
                      Non-Dischargeable                                                                                                                        months,
                      See Continuation Statement                                                                                                               beginning




Case 22-30011-dwh12
                      No. 13                                                                                                                                   September 1,
                                                                                                                                                               2023*
                      U.S. Small Business           All personal property     N/A            N/A                $159,970.89        See ¶ 4     3.75% per       Direct
                      Administration                                                                                                           annum           Payment; see




Doc 116
                      CLASS 3                                                                                                                                  Para. 4 and
                                                                                                                                                               Continuation
                                                                                                                                                               Statement 4.
                      PSB Credit Services, Inc.     Real Property             N/A            $5,125,000         N/A                See ¶ 11    7.25% per       See Para. 11
                      CLASS 4                                                                                                                  annum
                      See Paragraph 11.




Filed 11/03/22
                      *                     : all available funds after administrative claims are paid in full, including attorney fees.




                      Page 2 of 7 Plan Continuation Statements                                                                                         In re: Mark E. Delong
                      First Amended Plan Dated August 23, 2022                                                                                     Case No. 22-30011-pcm12
                      (As Modified at Confirmation)                                                                                                                 {00559327:1}
                                                                                    Exhibit 1 - Page 6 of 13
                  Chapter 12 Plan Continuation Statement for Paragraph 4
                        First Amended Plan Dated August 23, 2022
                               (As Modified at Confirmation)


        The debtor shall pay directly to each of the following creditors, whose debts are fully
secured, the regular payment due post-petition on these claims in accordance with the terms of
their respective contracts, list any prepetition arrearages in pt. 2(b), and/or specify any other
treatment of such secured creditor(s) in pt. 2(b):

      1.      U.S. Small Business Administration. Debtor shall begin making regular monthly
payments to the SBA within 30 days after the Effective Date of the Plan.




Page 3 of 7 Plan Continuation Statements                    In re: Mark E. Delong
First Amended Plan Dated August 23, 2022                Case No. 22-30011-pcm12
(As Modified at Confirmation)                                           {00559327:1}
                              Exhibit 1 - Page 7 of 13
                   Case 22-30011-dwh12 Doc 116 Filed 11/03/22
                         Additional Paragraphs for Chapter 12 Plan
                         First Amended Plan Dated August 23, 2022
                                (As Modified at Confirmation)

       The following Paragraphs are added to the end of the First Amended Chapter 12 Plan
dated August 23, 2022 (As Modified at Confirmation):

   11.     Detailed treatment of PSB Credit Services, Inc. claim. Notwithstanding any other
                                                                     PSB
follows:

          A. Claim; Repayment. As of January 5,               Petition Date
was due and owing to PSB which is secured by certain property of the Debtor as evidenced by
the amended proof of claim filed by PSB on August 26, 2022 [Claim No. 6-2]; for which the
Debtor acknowledges is the amount owed to PSB. The allowed secured claim will be bifurcated


proof of claim, and paid as follows:

                    1. Tranche A.                                                        Tranche A
Debt
amortized over thirty (30) years, with the Debtor paying semi-annual payments of principal and
accrued interest of $132,693.62. Each semi-annual payment of $132,693.62 will be due and
payable on the first day of March and September of each calendar year; beginning September 1,
2023. In addition to the semi-annual payments commencing September 1, 2023, the Debtor will
also pay $66,346.81 on December 1, 2022, and $66,346.81 on March 1, 2023. All payments
shall be applied, first, to accrued interest, then, second, to outstanding principal. The Tranche A
Debt will mature on the sixth anniversary of the plan confirmation hearing, at which time, the
Tranche A Debt will be due and payable in full.

                   2. Tranche B. The bifurcated amount of $1,896,670.56 [$5,125,000 -
                      Tranche B Debt                           of the Petition Date, at the fixed
rate of 7.25%. The Tranche B Debt will mature on the sixth anniversary of the plan confirmation
hearing, at which time, the Tranche B Debt will be due and payable in full.

                 3. Unsecured Claim. PSB shall have an allowed unsecured claim of
$268,522.84 [$5,393,522.84 ($3,228,329.44 + $1,896,670.56)].

           B. Sale of Encumbered Real Property. The Debtor shall execute a listing agreement
with a licensed realtor of his choice and acceptable to PSB, market and sell the following


           Schedules                                           s and conditions:




Page 4 of 7 Plan Continuation Statements                    In re: Mark E. Delong
First Amended Plan Dated August 23, 2022                Case No. 22-30011-pcm12
(As Modified at Confirmation)                                           {00559327:1}
                              Exhibit 1 - Page 8 of 13
                   Case 22-30011-dwh12 Doc 116 Filed 11/03/22
                   1.

                        a. December 1, 2022          deadline for signed listing agreement with
                           licensed realtor selected by Debtor and acceptable to PSB;

                        b. September 1, 2023    deadline for signed purchase agreement; and

                        c. December 1, 2023    deadline to close on the sale.

                   2.

                        a. December 1, 2022         deadline for signed listing agreement with a
                           licensed realtor selected by Debtor and acceptable to PSB;

                        b. September 1, 2023    deadline for signed purchase agreement; and

                        c. December 1, 2023    deadline to close on the sale.

                   3.                       as Parcel 1 in Schedules]:

                        a. June 1, 2024 deadline for signed listing agreement with a licensed
                           realtor selected by Debtor and acceptable to PSB;

                        b. March 1, 2025 deadline for signed purchase agreement; and

                        c. June 1, 2025 deadline to close on the sale.

                   4.                                                           . The Debtor shall

with a status of the listing, the current listing price, any offers received by the Debtor, and any
correspondences between the Debtor, the realtor and any prospective buyers. PSB may
correspond directly with the realtor, in writing copied to the Debtor and the Trustee, as to the
status report.

                    5. Sale; Release of Lien; Application of Sale Proceeds. To the extent the
proceeds from the sale of any of the encumbered property do not satisfy the Tranche A and
Tranche B debt, in full, PSB may elect not to release its lien. As to any approved sale, the sale
proceeds shall be applied, first, against the outstanding balance of the Tranche B debt until paid
in full, then, second, against the outstanding balance of the Tranche A debt until paid in full.

           C. Additional Plan Terms.

                   1. Pre-petition Liens.     The pre-petition liens of PSB shall continue to



Page 5 of 7 Plan Continuation Statements                    In re: Mark E. Delong
First Amended Plan Dated August 23, 2022                Case No. 22-30011-pcm12
(As Modified at Confirmation)                                           {00559327:1}
                              Exhibit 1 - Page 9 of 13
                   Case 22-30011-dwh12 Doc 116 Filed 11/03/22
action that is necessary to maintain and perfect its pre-petition liens without further notice,
motion or order.

                  2. Pre-Petition Property Taxes.         The Debtor shall pay all pre-petition
property taxes by December 31, 2022.

                    3. Non-monetary Loan Terms. The non-monetary loan terms set forth in the
                                                                                             -
petition property taxes when due, etc.) are incorporated into the confirmed Chapter 12 plan as
though set forth in the plan in their entirety.

                  4. Non-Merger Estoppel Deeds. Contemporaneous with the confirmation of
                                                                          -merger estoppel deeds
prepared by PSB and acceptable to Debtor and the Trustee for each parcel of real property
described in the
delivered to Cascade Escrow at its office located at 811 Willamette Street, Eugene, Oregon
97401 with instructions that allow for the release of the non-merger estoppel deeds to PSB in the

                                                                         -merger estoppel deeds to
                 Deeds-In-Lieu                             esponsible for the costs associated with
this escrow.

                     5. Stay Relief. The Debtor consents to, and the confirmation order shall
serve as, a stay relief order under 11 U.S.C. 362(d) to allow PSB to affect its rights and remedies
under this plan and applicable law without further notice or hearing.

           D. Event of Default; Right to Cure. The failure of the Debtor to comply with the
                                                                     Event of Default
exception of the deadlines in Section B above, the Debtor shall be entitled to a forty-five (45)
cure period as to any other Event of Default. For the Section B deadlines there is no cure period.
Notice of default shall be effective, three days after mailing, if sent by regular United States mail


            E. Remedies. Upon an Event of Default and the expiration of the applicable cure
period; or on the sixth anniversary of the plan confirmation order; PSB may elect to either:

                  1. Record Deeds-in-Lieu. Request and obtain the release of the Deeds-in-
Lieu from the escrow agent and record the Deeds-in-Lieu;

                   2. Sale of Properties. File a motion with the Court requesting that the
Chapter 12 trustee sell the remaining properties; or

                  3. Foreclosure. Commence a foreclosure or such other enforcement action
allowed under the loan documents and applicable law.

Page 6 of 7 Plan Continuation Statements                    In re: Mark E. Delong
First Amended Plan Dated August 23, 2022                Case No. 22-30011-pcm12
(As Modified at Confirmation)                                           {00559327:1}
                              Exhibit 1 - Page 10 of 13
                   Case 22-30011-dwh12 Doc 116 Filed 11/03/22
        12.     To continue his cattle operations throughout the life of the Plan, the Debtor may
continue to enter into new Producers Livestock Marketing Association (PLMA) Feeding and
Grazing Contract and Agreements, in forms acceptable to PLMA, without further need for
approval by the Bankruptcy Court or Chapter 12 Trustee. In general, pursuant to the Feeding
Agreement and the Program, PLMA places livestock owned by PLMA with the Debtor. The
Debtor is responsible for feedings and caring for the livestock and, in exchange, the Debtor is
entitled to a certain profit (or responsible for a certain loss) upon the sale of the livestock.
Producers receives a normal handling charge and interest under the Program. Based upon the
                                                                   e Debtor has projected to generate
revenues as set forth on the Exhibit 3 attached hereto.

        13.    The Class 2 Claim of Producers Livestock Marketing Association                    in
the amount of              , plus accruing interest and fees and costs, is non-dischargable in this
case and any other bankruptcy filed by the Debtor, to be paid in accordance with the terms of this
First Amended Plan. If there is a breach in the payment terms to PLMA, and if that breach is not
cured in the manner and in the time provided by the Plan, then PLMA may file a breach of
contract action to obtain a monetary judgment, and proceed with its rights thereon.

        14.     The effectiveness of this First Amended Chapter 12 Plan dated August 23, 2022
shall not preclude the assertion by Debtor against any creditor of any and all objections to
claims, nor the raising by Debtor of offsets, counterclaims or recoupment against any creditor.

        15.      Notwithstanding any provision in this Plan to the contrary, Debtor shall be
entitled to retain any government assistance payments received from any government agency
related to or designed to alleviate the effects of COVID-19. Debtor shall be entitled to use any
funds received for business operations.

        16.     Once payments have been made by the Debtor for 5 years, the Debtor shall
receive a discharge and the case shall be closed, provided that the only claims remaining to be
paid are to holders of allowed claims provided for under 11 U.S.C. §§ 1222(b)(5) or 1222(b)(9).

         17.                                                                                  Trustee
until allowed by separate order of the Court.




Page 7 of 7 Plan Continuation Statements                    In re: Mark E. Delong
First Amended Plan Dated August 23, 2022                Case No. 22-30011-pcm12
(As Modified at Confirmation)                                           {00559327:1}
                              Exhibit 1 - Page 11 of 13
                   Case 22-30011-dwh12 Doc 116 Filed 11/03/22
                      In re: Mark E. Delong
                      Case Number: 22-30011-dwh12

                                                    Payment and Distribution Schedule: The schedule is meant to clarify the schedule of payments described in the plan. The following
                                                    schedule does not take into account changes to payments resulting from amended claims, or from post-petition tax claims filed in
                                                    accordance with 11 U.S.C. § 1232.

                      PAYMENTS
                      Plan Payment Date                       12/1/2022              12/31/2022                3/1/2023                9/1/2023                3/1/2024                 9/1/2024                3/1/2025
                      Payment Amount                $         75,000.00 $             50,000.00 $             75,000.00 $            165,000.00 $            165,000.00 $             165,000.00 $            165,000.00

                      DISTRIBUTIONS
                      PSB Credit Services           $         (66,346.81)   $                -      $         (66,346.81)   $       (132,693.62)    $       (132,693.62)    $       (132,693.62)    $        (132,693.62)
                      Malheur County                $                -      $         (40,000.00)   $                -      $                -      $                -      $                -      $                -
                      Chapter 12 Trustee            $         (6,375.000)   $          (4,250.00)   $         (6,375.000)   $         (14,025.00)   $         (14,025.00)   $         (10,175.00)   $          (4,950.00)
                      M&B (Attorney Fees)           $          (2,278.19)   $          (5,750.00)   $          (2,278.19)   $          (6,281.38)   $          (6,281.38)   $         (10,131.38)   $         (10,000.00)
                      Producers Livestock           $                -      $                -      $                -      $         (12,000.00)   $         (12,000.00)   $         (12,000.00)   $         (17,356.38)
                      Unsecured Creditors           $                -      $                -      $                -      $                -      $                -      $                -
                      US Small Bus Admin            N/A Paid Direct         N/A Paid Direct         N/A Paid Direct         N/A Paid Direct         N/A Paid Direct         N/A Paid Direct         N/A Paid Direct

                      Notes:                                                                                                                                                At this point, the      M&B Attorney fees
                                                                                                                                                                            trustee will have       are paid off by this
                                                                                                                                                                            distributed more        time, allowing "all




Case 22-30011-dwh12
                                                                                                                                                                            than $450,000,          available funds after
                                                                                                                                                                            dropping the            attorney fees" to be
                                                                                                                                                                            commission from         added to the
                                                                                                                                                                            8.5% to 3%              payments made to
                                                                                                                                                                                                    PLMA. See Para




Doc 116
                                                                                                                                                                                                    2(b)(1).




Filed 11/03/22
                                                                                               Exhibit 1 Page
                                                                                                         - Page
                                                                                                              1 of 2 12 of 13
                      In re: Mark E. Delong
                      Case Number: 22-30011-dwh12

                                                    Payment and Distribution Schedule: The schedule is meant to clarify the schedule of payments described in the plan. The following
                                                    schedule does not take into account changes to payments resulting from amended claims, or from post-petition tax claims filed in
                                                    accordance with 11 U.S.C. § 1232.

                      PAYMENTS
                      Plan Payment Date                        9/1/2025                 3/1/2026               9/1/2026                3/1/2027                9/1/2027
                      Payment Amount                $        165,000.00 $             165,000.00 $           165,000.00 $            165,000.00 $            165,000.00

                      DISTRIBUTIONS
                      PSB Credit Services           $       (132,693.62)    $       (132,693.62)    $       (132,693.62)    $       (132,693.62)    $       (132,693.62)
                      Malheur County                $                -      $                -      $                -      $                -      $                -
                      Chapter 12 Trustee            $          (4,950.00)   $          (4,950.00)   $          (4,950.00)   $          (4,950.00)   $          (4,950.00)
                      M&B (Attorney Fees)           $                -      $                -      $                -      $                -      $                -
                      Producers Livestock           $         (25,000.00)   $                -      $                -      $                -      $                -
                      Unsecured Creditors           $          (2,356.38)   $         (27,356.38)   $         (27,356.38)   $         (27,356.38)   $         (27,356.38)
                      US Small Bus Admin            N/A Paid Direct         N/A Paid Direct         N/A Paid Direct         N/A Paid Direct         N/A Paid Direct

                      Notes:                                                PLMA secured claim
                                                                            is paid off by this
                                                                            time, so remaining




Case 22-30011-dwh12
                                                                            plan payment funds
                                                                            are to be distributed
                                                                            to unsecured
                                                                            creditors.




Doc 116
Filed 11/03/22
                                                                                                Exhibit 1 Page
                                                                                                          - Page
                                                                                                               2 of 2 13 of 13
